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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,                                                   Order of Restitution

                  v.                                                          S3 16 Cr. 371 (RA)

 GARY HIRST,

                             Defendant.


          Upon the application of the United States of America, by its attorney, Robert Khuzami,

Attorney for the United States, Acting Under Authority Conferred by 28 U.S.C. § 515, Rebecca

Mermelstein, Brendan F. Quigley, and Negar Tekeei, Assistant United States Attorneys, of

counsel; the presentence report; the Defendant’s conviction on Counts One, Two, Three, and Four

of the above referenced Indictment; and all other proceedings in this case, it is hereby ORDERED

that:

          1. Amount of Restitution. GARY HIRST, the Defendant, shall pay restitution in the total

amount of $43,785,176 to the victims of the offenses charged in Counts One, Two, Three, and

Four. The names, addresses, and specific amounts owed to each victim are set forth in the Schedule

of Victims attached hereto. Upon advice of a change of address, the Clerk of the Court is

authorized to send payments to the new address without further order of this Court.

          2. Joint and Several Liability. Defendant’s liability for restitution shall be joint and

several with that of any other defendant ordered to make restitution for the offenses in this matter

and related matters. Defendant’s liability for restitution shall continue unabated until either the

Defendant has paid the full amount of restitution ordered herein, or every victim has been paid the

total amount of his loss from all the restitution paid by the Defendant and his co-defendants in this

matter.
09.10.2013
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       3. Sealing. Consistent with 18 U.S.C. §§3771(a)(8) & 3664(d)(4) and Federal Rule of

Criminal Procedure 49.1, to protect the privacy interests of victims, the Schedule of Victims

attached hereto shall be filed under seal, except that copies may be retained and used or disclosed

by the Government, the Clerk’s Office, and the Probation Department, as need be to effect and

enforce this Order, without further order of this Court.

Dated: New York, New York
       September ___, 2018



                                              ___________________________________
                                              HONORABLE RONNIE ABRAMS
                                              UNITED STATES DISTRICT JUDGE
                                              SOUTHERN DISTRICT OF NEW YORK




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